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AO 442 (Rev. 11/11) Arrest Warrant



                                         UNITED STATES DISTRICT COURT
                                                                     for the
                                                         DistrictDistrict
                                                    __________    of Massachusetts
                                                                          of __________

                      United States of America
                                 v.                                    )
                                                                       )        Case No.
                                                                       )
                                                                       )
                                                                       )
                                                                       )
                             Defendant


                                                        ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                                                                                                    ,
who is accused of an offense or violation based on the following document filed with the court:

      Indictment               Superseding Indictment            Information          Superseding Information                     Complaint
      Probation Violation Petition               Supervised Release Violation Petition          Violation Notice                  Order of the Court

This offense is briefly described as follows:




Date:
                                                                                              Issuing
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City and state:
                                                                                                Printed
                                                                                                P i t d name and
                                                                                                               d titl
                                                                                                                 title


                                                                     Return

          This warrant was received on (date)                              , and the person was arrested on (date)
at (city and state)                                              .


Date:
                                                                                             Arresting officer’s signature



                                                                                                Printed name and title
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                                                                                                                     October 04, 2022
AO 91 (Rev. 11/11) Criminal Complaint                                                                             CLERK, U.S. DISTRICT COURT
                                                                                                                  WESTERN DISTRICT OF TEXAS

                                     UNITED STATES DISTRICT COURT                                                        Breanna Coldewey
                                                                                                             BY: ________________________________
                                                             for the                                                                 DEPUTY

                                                 District of
                                             __________      Massachusetts
                                                          District of __________

                  United States of America                      )
                             v.                                 )
                                                                )       Case No.   SA:22-MJ-1501-HJB
                                                                )
                                                                )
                                                                )
                                                                )
                          Defendant(s)


                                             CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                                             in the county of                                         in the
                       District of                          , the defendant(s) violated:

            Code Section                                                  Offense Description




         This criminal complaint is based on these facts:




             Continued on the attached sheet.


                                                                                           Complainant’s signature


                                                                                            Printed name and title

Sworn to before me and signed in my presence.


Date:
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     AFFIDAVIT IN SUPPORT OF APPLICATION FOR CRIMINAL COMPLAINT
       I, Steven Kimball, being sworn, depose and state as follows:

       1.        I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and have

been so employed since 2005. I am currently assigned to one of the Boston Field Office’s counter-

terrorism squads. Among other things, I am responsible for conducting national security

investigations of potential violations of federal criminal laws as a member of the Joint Terrorism

Task Force. I have extensive training and experience related to national security investigations, as

well as matters involving domestic and international terrorism. I have participated in the execution

of numerous federal search and arrest warrants in a variety of criminal investigations. From 2005

until 2008, I worked as a Special Agent in the FBI’s Newark office conducting both domestic and

international terrorism investigations. From 2008 to 2011, I worked at FBI headquarters on

domestic and international terrorism matters; during a portion of that time, I served as a supervisor

for terrorism cases. Since 2012, I have served in the Boston office conducting primarily domestic

terrorism investigations.

       2.        I submit this affidavit in support of a criminal complaint charging Jason Duhaime

(“DUHAIME”) with intentionally conveying false and misleading information related to an

explosive device in violation of Title 18, United States Code, Section 1038(a), and making

materially false statements to a federal law enforcement agent in violation of Title 18, United

States Code, Section 1001(a)(2).

       3.        DUHAIME is employed as the New Technology Manager and Director of the

Immersive Media Lab at Northeastern University in Boston, Massachusetts (“Northeastern”). In

a recorded 911 call and in a subsequent recorded conversation with a federal law enforcement

agent, DUHAIME reported that he was injured by “sharp” objects expelled from a plastic case (the

“Subject Case”) that he opened inside the Immersive Media Lab (the “Lab”) on the evening of

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September 13, 2022. DUHAIME also reported that the Subject Case contained a threatening letter

directed at the Lab, authored by an unknown person or persons. DUHAIME’s 911 call and his

statements to the federal agent generated an enormous law enforcement response that included,

among other things, the assistance of two law enforcement bomb squads, the evacuation of a large

portion of Northeastern’s Boston campus (Holmes, Meserve, Behrakis, Shillman, Ryer, Kariotis

and Dockser halls, among others), and numerous campus-wide alerts issued by the Northeastern

Police Department, one of which described an “explosion” at Holmes Hall.

        4.       I have probable cause to believe that certain information provided by DUHAIME

to the 911 operator and to the federal agent—namely that he was injured by “sharp” objects

expelled from the Subject Case and that the case contained a threatening letter—was fabricated by

DUHAIME. As described below, evidence discovered during the FBI’s ongoing investigation

indicates that DUHAIME himself authored the threatening letter. I believe, based on the ongoing

investigation, that the Subject Case contained no “sharp” objects, that no objects were expelled

from the case when DUHAIME opened it, and that DUHAIME sustained no injuries as a result of

opening the Subject Case. There is probable cause to believe, therefore, that DUHAIME conveyed

false and misleading information related to an explosive device to the 911 operator, and that he

made materially false statements to a federal agent about the Subject Case and the cause of his

injuries.

        5.       The facts described in this affidavit come from my personal observations, my

training and experience, and information obtained from other law enforcement personnel and

witnesses. This affidavit is intended only to show that there is sufficient probable cause for the

requested arrest warrant and does not set forth all my knowledge about this matter. Unless they




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appear in quotations, the statements of others described in this affidavit are set forth in sum and

substance only.

                            FACTS SUPPORTING PROBABLE CAUSE

       6.        At approximately 7:00 p.m. on September 13, 2022, DUHAIME called 911 from

the Lab, which is located on the third floor of Holmes Hall on Northeastern’s campus. DUHAIME

told the 911 operator that he and a Northeastern student who worked in the lab (“Student #1”) had

collected several packages from a mail staging area on the first floor of Meserve Hall earlier that

evening and brought them into the Lab. Among the packages were two opaque plastic cases—

commonly referred to as “Pelican” cases—one of which was the Subject Case. DUHAIME

brought the cases into a storage closet inside the Lab. DUHAIME said that when he opened the

Subject Case inside the closet, “stuff flew out” causing injuries to his “hand.” DUHAIME

described the objects as “very sharp.” DUHAIME also told the 911 operator that he found a

“violent note” inside the case (the “Letter”).

       7.        An officer from the Northeastern Police Department was first to arrive at the Lab

after DUHAIME’s 911 call. DUHAIME, who was wearing a long sleeve shirt, was seated at a

table inside the Lab approximately twenty feet from the storage closet. Student #1 was also

present. The Subject Case and the Letter were on a table adjacent to where DUHAIME was seated.

       8.        The Subject Case was empty. The inside and outside of the case did not bear any

marks, dents, cracks, holes, or other signs that it had been exposed to a forceful or explosive

discharge of any type or magnitude. Likewise, aside from several fold marks, the Letter was

pristine. It bore no tears, holes, burn marks, or any other indication that it had been near any sort

of forceful or explosive discharge. Images of the Subject Case and the Letter as they appeared

when the Northeastern Police Officer arrived at the Lab are shown below:



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                              [Subject Case and Letter]




                                      [Letter]



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       9.        DUHAIME raised his sleeves for the Northeastern officer, revealing several small,

superficial marks or bruises on his lower forearms. DUHAIME’s shirt, however, did not appear

damaged. DUHAIME told the officer that a second plastic case—which DUHAIME said he

brought into the Lab at the same time as the Subject Case—was still inside the storage closet. For

safety reasons, the officer exited the lab with DUHAIME and Student #1. DUHAIME was

subsequently transported to Beth Israel Deaconess Medical Center (“BIDMC”) in Boston for

evaluation.

       10.       Investigators from the Boston Police Department (“BPD”), FBI, United States

Postal Inspection Service (“USPIS”) and other law enforcement agencies subsequently responded

to Holmes Hall. Bomb technicians from BPD and FBI also arrived on scene. Based upon the

information provided by DUHAIME, the investigators and bomb technicians were concerned that

the Subject Case may have contained harmful chemicals or contaminants and that the second

case—the one that remained unopened inside the Lab’s storage closet—could contain a similar

explosive device. Consequently, Holmes Hall and several other nearby buildings were evacuated.

Northeastern also put out several campus-wide alerts warning students about an “explosion” at

Holmes Hall and telling them to avoid the area.

       11.       As Holmes Hall was being evacuated, BPD bomb technicians entered the Lab. FBI

bomb technicians joined BPD a short time later. They observed the Subject Case on a table inside

the Lab. It was empty and undamaged. Inside the storage closet, the bomb technicians observed

a second case on the floor immediately inside the doorway. The case was latched shut. It did not

appear to be damaged or tampered with in any way. The closet itself was cluttered but otherwise

appeared normal. Although DUHAIME said that “sharp” objects had been ejected from the




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Subject Case inside the closet, the bomb technicians did not observe any small objects or

suspicious debris on the floor or elsewhere.

       12.       The bomb technicians x-rayed the second case and determined that it was empty.

Nonetheless, out of an abundance of caution, the technicians opened the second case inside the

closet using a render-safe tool. (The tool employed by the technicians used water, ejected at an

extremely high velocity, essentially to open the case by breaking it apart.) In addition to breaking

apart the second case, the render-safe tool caused damage to some areas of the storage closet,

including a portion of one wall and several ceiling tiles. After it was determined that the Lab was

safe, investigators collected and preserved the Subject Case and the second case. An initial

examination of the cases and the surrounding area did not reveal any explosive chemicals or

residues. Both cases were subsequently sent to the FBI Forensic Laboratory in Quantico, Virginia

for further testing. The results of that testing are pending.

       13.       At approximately 10:00 p.m., a USPIS Inspector assigned to the FBI’s Joint

Terrorism Task Force (the “JTTF Agent”) and an officer from the Northeastern Police Department

interviewed DUHAIME at BIDMC. The interview lasted approximately ninety minutes and was

audio recorded with DUHAIME’s permission. Among other things, DUHAIME stated as follows

during the interview:

                DUHAIME observed some packages and two black “Pelican” cases, including the
                 Subject Case, in the mail staging area on the first floor of Meserve Hall on
                 September 12th. He placed the cases into a lab adjacent to the mail area (the
                 “Useability Lab”) for safekeeping on September 12th or 13th but did not move
                 them upstairs at that time.

                At some point during the evening of September 13th, DUHAIME asked Student
                 #1 to assist him with collecting the packages and cases from Meserve Hall and
                 bringing them to the Lab.




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                  DUHAIME and Student #1 went to the mail area to collect the packages and cases
                   shortly before 7:00 pm on September 13th. DUHAIME carried the Subject Case
                   and the second case upstairs and into the Lab. Student #1 carried the packages. 1

                  DUHAIME brought the two cases into a storage closet inside the Lab and shut the
                   door behind him. Student #1 remained outside in the Lab. DUHAIME placed the
                   cases on the ground inside the closet. He did not turn on the light because he was
                   “in a rush.”

                  DUHAIME described what happened next as follows: “I unlock [the Subject Case]
                   … and I open it up. And as soon as I opened it up, all this energy and, like, these
                   things come flying out. And I had a long sleeve shirt, and they flew up underneath,
                   basically, and hit my arm. The case went up and then it came down.”

                  Later during the interview, DUHAIME described a second time what happened
                   when he opened the Subject Case: “I popped it – the latches – and then I started
                   to open it up. And then I don’t know how much it was open, but all this freakin’
                   air, pressure, shit came flying out, like, and these little things – I felt them. I didn’t
                   necessarily see them ‘cause it was dark, but they were, they hit me.” DUHAIME
                   said the Subject Case “flew up and then landed.”

                  DUHAIME then picked up the Subject Case, brought it into the Lab, and placed it
                   on a table. According to DUHAIME, he then opened the Subject Case, discovered
                   the Letter inside, read a portion of the Letter, and then placed the Letter on the
                   table. He instructed Student #1 not to read the Letter because it contained threats.
                   He called 911 and his supervisor shortly thereafter.

                  DUHAIME formally resides in Texas with his girlfriend, travels to Texas “every
                   two or three weeks,” and sleeps in the Lab or in his office whenever he is in
                   Massachusetts. He does not maintain a residence in Massachusetts even though
                   he works full time at Northeastern.

                  DUHAIME provided oral and written consent to search his cell phone, his office
                   at Northeastern, and any electronic devices located inside his office.

         14.       The JTTF Agent told DUHAIME during the interview that it was a crime to

knowingly make false statements to a federal agent. DUHAIME said several times that he was

being honest, at one point towards the end of the interview saying, “I’m telling you the truth, the


1
  As of September 13, 2022, there were no security cameras in the Lab, outside the Lab, or in the first floor mail area
in Meserve Hall. DUHAIME appears to have been aware of this fact. During his interview with BPD, see FN 2 infra,
DUHAIME told the detectives there were no cameras in these areas. DUHAIME said that he had asked for cameras
to be installed “a million times.”


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whole truth, and nothing but the truth so help me God.” DUHAIME was released from BIDMC

shortly after the interview ended. 2

         15.       Federal agents also interviewed Student #1 on the evening of September 13th and

again on September 19th. Student #1 relayed the following information to the agents during those

interviews:

                  Student #1 was scheduled to work in the Lab from 10:00 a.m. until 6:30 p.m. on
                   September 13th. Shortly before Student #1’s shift ended, however, DUHAIME
                   asked whether he would stay late to help DUHAIME collect some packages from
                   the mail staging area on the first floor. This was the first time that DUHAIME had
                   ever accompanied Student #1 to the mail area. (Student #1 had worked in the lab
                   for approximately one year to that point.) Ordinarily, DUHAIME instructed
                   Student #1 and the other student employed in the Lab to collect the packages
                   themselves.

                  When they arrived in the mail area, Student #1 observed two “Pelican” cases on the
                   floor along with two other small packages. DUHAIME picked up the cases, telling
                   Student #1 they were not as heavy as he expected them to be. Student #1 collected
                   the packages. They then returned to the Lab on the third floor.

                  When they arrived at the Lab, DUMAIME took the two cases into the storage closet
                   inside the Lab. The closet light was on when DUHAIME entered the closet, and
                   the door closed automatically behind him. Student #1 saw light emanating from
                   under the closet door after it closed. Student #1 stayed outside, approximately 20
                   feet from the entrance to the closet.

                  Shortly after DUHAIME entered the closet, DUHAIME yelled and then—within
                   seconds—exited the closet. Student #1 did not hear any noises coming from inside
                   the closet other than DUHAIME’s voice.

                  When DUHAIME exited the closet, he was holding the Subject Case in one hand
                   and the Letter in his other hand. He placed the Subject Case and the Letter on a
                   table inside the Lab. DUHAIME instructed Student #1 not to read the letter because
                   it contained threats, leading Student #1 to believe that DUHAIME had reviewed at
                   least a portion of the letter before exiting the closet.


2
  BPD detectives interviewed DUHAIME at BIDMC at approximately 9:00 p.m., roughly one hour before the JTTF
interview. The BPD interview was audio recorded. By and large, DUHAIME’s statements to the BPD detectives
were consistent with his statements to the JTTF Agent. About opening the Subject Case, DUHAIME told the BPD
detectives: “I opened it up. As soon as I opened it up, there was this rush of – I don’t know how to explain it – energy,
air, whatever. I had a long sleeve shirt on, so stuff came flying out of the case – these little, small pieces – and they
hit me under the shirt, basically. The case went up in the air, though, at the same time and it fell.”

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                DUHAIME called 911 and then his boss, the general manager of the Lab.
                 DUHAIME had difficulty speaking to his boss and otherwise appeared distraught,
                 causing Student #1 to take the phone from him. An officer from the Northeastern
                 Police Department arrived shortly thereafter.

       16.       Several of DUHAIME’s statements to the JTTF Agent are inconsistent with

Student #1’s recollection of events. First, DUHAIME told investigators that he moved the

“Pelican” cases into the Useability Lab (a locked lab space adjacent to the mail area) on September

12th or 13th so they would not be stolen. However, Student #1 reported that he and DUHAIME

encountered the cases in the mail area outside the Useability Lab. Second, although DUHAIME

claimed to have previously moved the cases from the mail area to the Useability Lab, he told

Student #1 that he was surprised by how light the cases were when he picked them up. This

indicated to Student #1 that DUHAIME had not lifted the cases before that time and, therefore,

was unfamiliar with their weight. Third, DUHAIME claimed that the light was off when he entered

the storage closet and opened the Subject Case. Student #1, however, recalled that the light was

on when DUHAIME entered the closet. Student #1 specifically recalled seeing light emanating

from under the closet door while DUHAIME was inside. Fourth, DUHAIME claimed that the

Subject Case was propelled into the air after he opened it and that it landed on the ground. Student

#1, however, did not hear any sound consistent with a hard plastic case striking the ground even

though he was sitting just twenty feet from the closet. Fifth, DUHAIME said he removed the

Letter from the case after he left the closet, whereas Student #1 recalled DUHAIME exiting the

closet with the Letter in his hand. Student #1 specifically recalled DUHAIME commenting about

the content of the letter without ever having looked at it in Student #1’s presence, indicating to

Student #1 that DUHAIME must have previously reviewed all or part of the Letter.

       17.       On September 14, 2022, DUHAIME contacted the Northeastern Police Department

and asked to speak with law enforcement. The JTTF Agent and an officer with the Northeastern

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Police Department subsequently spoke with DUHAIME at a hotel room in Boston. The interview

was audio recorded. Once again, the JTTF Agent told DUHAIME that it was a crime to knowingly

make false statements about a material matter to a federal agent. During the interview, among

other things, DUHAIME expressly denied fabricating his story about the Subject Case, the Letter,

or his injuries. 3

        18.      Federal law enforcement agents searched DUHAIME’s office at Northeastern on

September 14, 2022. During the search, the agents found four computers, including a white

Alienware laptop computer (the “Computer”). The Computer is owned by Northeastern. An FBI

forensic examiner acquired a forensic image of the Computer and then analyzed that image using

reliable forensic tools. During the examination on September 28, 2022, the forensic examiner

discovered a word-for-word, electronic copy of the Letter stored in a backup folder. The Letter

was stored as a “.asd” file, which I know to be a backup file associated with Microsoft Word. I

am aware that certain word processing applications like Microsoft Word will automatically save

files at set intervals (e.g., every ten minutes) regardless of whether the user manually saves the

document. These files are kept in a temporary folder for a set period, after which they are

automatically deleted. The metadata associated with this file reflects a “Created Date/Time” of

September 13, 2022, at 2:57 p.m. EST and a “Last Printed Date/Time” of September 13, 2022, at

4:02 p.m. EST. Although the forensic examiner’s review is ongoing, none of the other computers

found in DUHAIME’s office appear to contain the Letter.




3
  DUHAIME made similar statements to a reporter affiliated with the Boston Globe that same day. According to an
article published in the Globe on September 14, 2022, DUHAIME said, “I did not stage this, in no way shape or
form….      They     need    to   catch  the    guy     that   did    this.”      See    www.bostonglobe.com/
2022/09/14/metro/investigation-underway-into-package-explosion-northeastern-campus.


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       19.       Based on this data, I believe the Letter was first created shortly before 3:00 p.m. on

September 13th. This is inconsistent with DUHAIME’s statements to the JTTF Agent insofar as

he claimed the Letter was found inside the Subject Case, and that the Subject Case was present in

the mail area in Meserve Hall on September 12, 2022. In other words, because the metadata

indicates that the Letter was not created until September 13th, the Letter could not have been

placed inside the Subject Case on September 12th.

       20.       In light of the above facts, I believe the following to be true:

                DUHAIME’s statements about the Subject Case and the Letter are untrue because
                 they are belied by the lack of any physical evidence. (1) No “small” or “sharp”
                 objects that could account for the marks on DUHAIME’s arms were found in the
                 storage closet, in the Subject Case, or in the Lab itself. (2) The Subject Case did
                 not appear to have been tampered with and it sustained no physical damage. (3)
                 The Letter also sustained no damage. Had the case expelled “sharp” objects like
                 DUHAIME said, and had the letter been inside the case at the time, I believe the
                 Letter would have sustained at least some damage. (4) Although DUHAIME was
                 wearing a long-sleeve shirt when he opened the Subject Case, the shirt sustained no
                 apparent damage. Had “sharp” objects been expelled from the Subject Case like
                 DUHAIME claimed, I believe his shirt would have sustained at least some damage.
                 DUHAIME’s claim that the sharp objects “flew up” his sleeves is, I believe,
                 implausible on its face.

                DHUAIME’s statements about the Subject Case and the Letter are untrue because
                 he apparently drafted and printed the Letter using the Computer several hours
                 before calling 911. The Computer was discovered inside DUHAIME’s office. An
                 electronic copy of the Letter was autosaved to the Computer, likely without
                 DUHAIME’s knowledge. I believe DUHAIME intentionally did not save the file
                 to avoid leaving any record of the Letter. The metadata associated with the file
                 indicates that it was created and printed just hours before DUHAIME called 911.
                 DUHAIME’s suggestion that the Letter was placed in the Subject Case on
                 September 12th, therefore, cannot be true. I believe DUHAIME dated the letter
                 “9/12/22” in an attempt to bolster his false story that an unknown person or persons
                 placed the Letter inside the case on September 12th.

                Given the lack of any physical evidence and the fact that the Letter was found on a
                 Computer in DUHAIME’s office, the significant inconsistencies between
                 DUHAIME’s story and Student #1’s recollection of events support a finding that
                 DUHAIME is not being truthful. See ¶ 16, supra. Notably, the fact that Student
                 #1 saw DUHAIME exit the closet with the Letter in his hand, apparently aware that
                 it contained threats, is further evidence that DUHAIME drafted the Letter before

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                 entering the storage closet. Having drafted the Letter himself, I believe DUHAIME
                 was already familiar with its contents before he opened the Subject Case.

                                          CONCLUSION

       21.       Based on the forgoing facts, and on my experience, training and discussions with

other individuals involved in this investigation, I believe that probable cause exists to conclude

that on September 13, 2022, DUHAIME intentionally conveyed false and misleading information

related to an explosive device, under circumstances where such information may reasonably be

believed and where such information indicated that an activity had taken place, that would

constitute a violation of Title 18, United States Code, Section 844(e) (prohibiting the malicious

conveyance of false information concerning threats to injure, kill, or intimidate persons by means

of explosives), all in violation of 18 U.S.C. § 1038(a). In addition, I believe that probable cause

exists to conclude that on September 13 and 14, 2022, DUHAIME knowingly and willfully made

materially false, fictitious, and fraudulent statements to the JTTF Agent in a matter within the

jurisdiction of the Executive Branch in violation of 18 U.S.C. § 1001(a)(2).



                                              __________________________
                                              Steven Kimball
                                              Special Agent, FBI




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Sworn and subscribed to me telephonically this _____
                                                3rd day of October, 2022.



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DAVID H. HENNESSYSY
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UNITED STATES MAGISTRATERATE E JUDGE
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